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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     STACEY MISTLER
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7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    ) Case No. 2:13-cr-165-TLN
11                                                )
                      Plaintiff,                  ) STIPULATION AND ORDER CONTINUING
12                                                ) STATUS CONFERENCE
            vs.                                   )
13                                                ) Date: March 19, 2015
     STACEY MISTLER,                              ) Time: 9:30 a.m.
14                                                ) Judge: Hon. Troy L. Nunley
                      Defendant.                  )
15                                                )
                                                  )
16
             IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, Olusere Olowoyeye, Assistant United States Attorney, attorney for Plaintiff,
18
     Heather E. Williams, Federal Defender, through Assistant Federal Defender Matthew C.
19
     Bockmon, attorney for Stacey Mistler, agree to vacate the change of plea date of January 22,
20
     2015 and set it for March 19, 2015 at 9:30 a.m. for the following reason:
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             The reason for the request is to allow defense counsel to review the proposed plea
22
     agreement with the defendant in preparation for her change of plea.
23
             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24
     excluded of this order’s date through and including March 19, 2015; pursuant to 18 U.S.C.
25
     §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
26
     based upon continuity of counsel and defense preparation.
27
28

      Stipulation to Continue Status Conference                            U.S. v. Mistler, et al., 2:13-cr-165 TLN
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                                                  Respectfully submitted,
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3    Dated: January 20, 2015                      HEATHER E. WILLIAMS
                                                  Federal Defender
4
                                                  /s/ Matthew C. Bockmon
5                                                 MATTHEW C. BOCKMON
                                                  Assistant Federal Defender
6                                                 Attorney for Defendant
7                                                 STACEY MISTLER

8    Dated: January 20, 2015                      BENJAMIN B. WAGNER
                                                  United States Attorney
9
                                                  /s/ Olusere Olowoyeye
10
                                                  OLUSERE OLOWOYEYE
11                                                Assistant U.S. Attorney
                                                  Attorney for Plaintiff
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      Stipulation to Continue Status Conference                         U.S. v. Mistler, et al., 2:13-cr-165 TLN
       Case 2:13-cr-00165-TLN Document 88 Filed 01/20/15 Page 3 of 3


1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including March
9    19, 2015, shall be excluded from computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)
11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It is further
12   ordered the January 22, 2015 change of plea hearing shall be continued until March 19, 2015, at
13   9:30 a.m.
14   Dated: January 20, 2015
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                                                             Troy L. Nunley
16                                                           United States District Judge
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      Stipulation to Continue Status Conference                            U.S. v. Mistler, et al., 2:13-cr-165 TLN
